Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17   PageID.1642   Page 1 of 14
  


                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 MAURICE & JANE SUGAR LAW
 CENTER FOR ECONOMIC &
 SOCIAL JUSTICE,
                                              Case No. 2:15-cv-11449
 INTERNATIONAL UNION, UNITED
 AUTOMOBILE, AEROSPACE AND                    Hon. Robert H. Cleland
 AGRICULTURAL IMPLEMENT
 WORKERS OF AMERICA (UAW),
 et al
         Plaintiffs,

 v.

 STEVE ARWOOD and SHARON                      STIPULATED ORDER
 MOFFETT-MASSEY, in their official            OF DISMISSAL
 capacities

             Defendants.

 ________________________________________________________________
 David M. Blanchard (P67190)           Kimberly K. Pendrick (P60348)
 Daniel Tai (P76798)                   Peter T. Kotula (P41629)
 BLANCHARD & WALKER, PLLC              Shannon W. Husband (P60352)
 Attorneys for Plaintiffs              Assistant Attorney General
 221 N. Main Street, Ste. 300          Attorney for Defendants
 Ann Arbor, MI 48104                   Labor Division
                                       3030 W. Grand Blvd., Ste. 9-600
 Ava Barbour (P70881)                  Detroit, MI 48202
 Edward A. Macey (P72939)
 Associate General Counsel
 International Union, UAW
 Attorneys for UAW only
 8000 East Jefferson Avenue
 Detroit, MI 48214




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Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17        PageID.1643     Page 2 of 14
  


                    STIPULATED ORDER OF DISMISSAL

       By consent and stipulation of the parties it is HEREBY ORDERED that:

          1. This matter is dismissed on the terms of the attached Settlement

             Agreement; and,

          2. Collection activity stayed under the stipulated Preliminary Injunction

             Order will continue: all collection activity against claimants who have

             been subject to fraud (re)determinations (and associated underlying

             eligibility or disqualification (re)determinations) issued by the

             Agency beginning October 1, 2013, to August 7, 2015, is stayed,

             unless and until individually reviewed by agency staff and affirmed

             with new notice to claimant; and,

          3. The Court shall retain jurisdiction of this matter pursuant to the terms

             of the Settlement Agreement and for the purpose of enforcing the

             terms of this Order and the Settlement Agreement; and,

          4. Plaintiffs shall be entitled to reimbursement of reasonable fees and

             costs incurred in the prosecution of this matter as agreed by the

             parties.

                                       IT IS SO ORDERED

 Dated: February 2, 2017               s/Robert H. Cleland
                                       ROBERT H. CLELAND
                                       UNITED STATES DISTRICT JUDGE



  




                                       Page 2
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17        PageID.1644    Page 3 of 14
  



                                   STIPULATION

        The parties, by and through their respective attorneys, stipulate to the entry

 of this order.



 Respectfully submitted,




 /s/ David M. Blanchard                          /s/ Kimberly K. Pendrick
 David M. Blanchard (P67190)                     Kimberly K. Pendrick (P60348)
 Daniel C. Tai (P76798)                          Peter T. Kotula (P41629)
 BLANCHARD & WALKER, PLLC                        Shannon W. Husband (P60352)
 Attorneys for Plaintiffs                        Assistant Attorney General
 221 N. Main Street, Ste. 300                    Attorney for Defendants
 Ann Arbor, MI 48104                             Labor Division
                                                 3030 W. Grand Blvd., Ste. 9-600
 Date: January 31, 2017                          Detroit, MI 48202

                                                 Date: January 31, 2017

 /s/ Edward A. Macey
 Ava Barbour (P70881)
 Edward A. Macey (P72939)
 Associate General Counsel
 International Union, UAW
 Attorneys for UAW only
 8000 East Jefferson Avenue
 Detroit, MI 48214

 Date: January 31, 2017




  




                                        Page 3
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17         PageID.1645    Page 4 of 14
  


                               Settlement Agreement

       THIS SETTLEMENT AGREEMENT (hereinafter referred to as
 “Agreement”), is made and entered into this 31 day of January, 2017, by and
 between International Union, United Automobile, Aerospace and Agricultural
 Implement Workers of America (UAW); and Maurice & Jane Sugar Law Center
 for Economic & Social Justice, and individual claimants Jennifer Zynda; Amanda
 Balma; Kevin Grifka; Jordan Miller; Brian Saylor; Nancy Wessinger; and Michelle
 Witt (hereinafter referred to as “Plaintiffs”) and the Talent Investment
 Agency/Unemployment Insurance Agency, Steve Arwood and Sharon Moffett-
 Massey (hereinafter referred to as “Defendants”).

        WHEREAS, Plaintiffs filed a civil action in this Court on April 21, 2015,
 originally titled Zynda et al. v. Zimmer et al., 15- CV-11449 (the “Litigation” or
 “Action”).

        WHEREAS, the Agency has undertaken a review of all remaining
 Unemployment Insurance Agency (“UIA”) fraud determinations and
 redeterminations (collectively referred to herein as “(re)determinations”) and
 associated eligibility (re)determinations issued from October 1, 2013, to August 7,
 2015 that have not yet had a hearing before the Michigan Administrative Hearing
 System, which will include issuance of (re)determinations on reversals and
 notices of appeal rights on affirmations; and

      WHEREAS, the Agency has committed to make all reasonable efforts to
 complete the review within six months of the execution of this Agreement; and

        WHEREAS, this Agreement sets forth the full and final terms by which
 Plaintiffs and Defendants settle and resolve all claims that have been raised in the
 Litigation.

 IT IS HEREBY AGREED that:

 1.    The Litigation will be dismissed based upon entry of an Order of Dismissal
       incorporating the terms of this Settlement Agreement and on the mutual
       agreement of the parties and the obligations and affirmations contained
       herein;

 2.    Defendants admit no wrongdoing or that any of the Talent Investment
       Agency/Unemployment Insurance Agency’s (Agency) policies or
       procedures violate any Federal or State Constitutional provisions or laws.

  




                                        Page 1
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17           PageID.1646     Page 5 of 14
  



 3.       The Defendants hereby specifically affirm Agency compliance with the
          following policies and practices regarding identification of overpayments
          and/or imposition of penalties or, to the extent necessary, to adopt or revise
          policies. The Agency shall bring its policies and practices in compliance
          within 90 days of this Settlement Agreement.
       
                                         Section I.
              REVISED OR AFFIRMED UIA POLICIES AND PRACTICES
 4.       The Agency will conduct an investigation consistent with prevailing U.S.
          Department of Labor requirements, including ETA Handbooks and
          Unemployment Insurance Program Letters as interpreted by the U.S.
          Department of Labor, before issuing a (re)determination that an
          overpayment has been made or intentional misrepresentation has occurred.
          In so doing, the Agency will take reasonable actions to ensure that
          investigators gather all relevant information, which may include supporting
          documents and statements from either the individual to whom the payment
          was made or others. In addition, claimants will be given an opportunity to be
          heard, timely notice of the interview or fact-finding questionnaire, and an
          opportunity to present evidence.

 5.       When there is a factual conflict between the information received from an
          individual claimant and other information received by the Agency regarding
          overpayment or potential misrepresentation, Agency staff will make
          reasonable attempts (as defined by the U.S. Department of Labor) to contact
          the individual, inform him or her of the conflict, and allow an opportunity
          for rebuttal. The Agency will establish policies and procedures to determine
          that the conflicting information appears valid and relevant to its
          (re)determination prior to contacting the individual and requesting additional
          information. For purposes of paragraphs 1 or 2 of this section, the following
          practices shall satisfy the terms of the agreement:

             a. The Agency’s procedures require attempts to obtain information from
                the claimant, the employer, or third-parties regarding overpayment
                and misrepresentation issues;
             b. The Agency will issue (re)determinations of intentional
                misrepresentation based upon staff review of all evidence obtained
                during the investigation;
             c. The Agency will not make fraud (re)determinations solely based upon
                a lack of response by the claimant;


  




                                           Page 2
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17       PageID.1647     Page 6 of 14
  


          d. A manager will review all intentional misrepresentation
             (re)determinations to verify that they contain sufficient facts in
             support of the finding;
          e. The Agency will establish policies and procedures to determine
             whether conflicting information appears valid and relevant to its
             (re)determination prior to contacting the claimant and requesting
             additional information; and,
          f. Claimants that fail to respond to fact-finding will receive a 48-hour
             call before a fraud (re)determination is issued.

 6.    All (re)determinations of misrepresentation or fraud will be issued only after
       the input and review by Agency staff, and after the claimant is informed of
       the conflicting information and provided an opportunity to respond.

          a. When reviewing a data conflict concerning reason(s) for separation,
             both the claimant and employer will receive fraud fact-finding
             questionnaires for fraud assessment purposes. Equal deference will be
             given to statements by the employer and the claimant absent further
             investigation by the Agency. This will apply to any new claims 90
             days after the effective date, which will be the date the Order of
             Dismissal and this Agreement are filed and entered by the Court.
          b. Claimants who fail to respond to fact-finding will receive a 48-hour
             call before a fraud (re)determination is issued.
          c. The Agency will not make fraud (re)determinations solely based on a
             lack of response by the claimant.
          d. All timely information submitted by a claimant will be considered
             prior to a (re)determination being issued.

 7.    When an employer reports wages earned for an employee within a benefit
       quarter, the Agency will not assume that wages are compensation
       attributable to any specific benefit weeks throughout the quarter unless the
       employer or claimant designates the weeks for which it is attributing pay. If
       the employer so designates, the designation shall be subject to review by the
       Agency, and the claimant will be notified by phone call of the weeks
       designated and provided an opportunity to respond.

 8.    Communications will be in plain language and using methods that ensure the
       communication is most likely to be successful for all populations, including
       individuals with limited English proficiency.

 9.    Regardless of claimant’s election to receive electronic notices or “go green,”

  




                                       Page 3
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17         PageID.1648    Page 7 of 14
  


       after the end of the claimant’s benefit year, claimants accused of receiving
       overpayments or of intentional misrepresentation shall receive written notice
       by mail of the (re)determination at the last known address. Written notice
       will include: a) a summary statement of the material facts on which the
       (re)determination is based; b) the reason for allowing or denying benefits;
       and c) the penalties that will be collected or consequences associated with
       the (re)determination if it is not appealed and it becomes final.

 10.   Written notice will also provide a statement of appeal rights that includes the
       claimant’s right to appeal, protest, or to request a redetermination; the period
       in which the appeal, protest, or request for redetermination must be filed; the
       manner in which it must be filed; and where the claimant can obtain
       additional information and assistance about filing an appeal, protest, or
       request for redetermination.

 11.   All fraud (re)determinations and notices of restitution due will be reasonably
       designed to allow the claimant to understand the reasons for the
       (re)determination, potential penalties or other consequences of a fraud
       (re)determination, as well as his or her rights with respect to an appeal. The
       claimant shall be provided information about the appeal process including
       the right to have representation; to present testimony and other evidence
       relative to the appeal; to subpoena witnesses and records; and to be apprised
       of the penalties to be assessed if it is not appealed and a (re)determination
       becomes final, and of the consequences of failing to attend an appeal if one
       is requested. For purposes of this paragraph, inclusion of the following in
       fraud (re)determinations and notices of restitution due shall satisfy the terms
       of the agreement:

          a. A summary statement of the reason for denying benefits, including the
             facts on which the (re)determination is based (for (re)determinations
             only, but not notices of restitution due);
          b. The claimant’s right to protest or appeal a (re)determination;
          c. The period and manner in which the appeal, protest, or request for
             redetermination must be filed, and information regarding where the
             claimant can obtain additional information and assistance regarding
             filing an appeal, protest, or request for redetermination;
          d. The potential penalties or other consequences of a fraud
             (re)determination;
          e. The claimant’s ability to hire an attorney to represent them at any
             stage of the administrative process;


  




                                        Page 4
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17         PageID.1649     Page 8 of 14
  


          f. The claimant’s ability to use the advocacy program;
          g. That the claimant can have a hearing to present testimony and other
             evidence and to subpoena witnesses and records; and
          h. That failure to attend an administrative hearing may result in
             dismissal.

       Relative to any (re)determinations issued after implementation of any
       change of policy or procedure pursuant to this Agreement, the Agency will
       not initiate or continue overpayment recovery or imposition of penalties,
       whether by garnishment, bill collection, offset against current eligibility, or
       other means unless and until the above policies and procedures have been
       adhered to.

 12.   The Agency will refer those who are denied advocacy through the Advocacy
       Program due to fraud to the State Bar referral service Legal Aid Section,
       which maintains an “unemployment” subsection.

 13.   The Agency shall not initiate or continue recovery of an overpayment or
       penalty until a (re)determination of the overpayment becomes final after the
       claimant has had notice and reasonable opportunity to challenge the
       (re)determination and/or exhaust all appeals.

 14.   During the pendency of a decision on any overpayment or misrepresentation
       (re)determination, the Agency will continue to make timely UC payments
       when due and shall not make any attempts to collect restitution while an
       appeal is pending, and shall not begin collection of restitution or penalties
       until or after 35 days from the date of a (re)determination.

 15.   Good cause for a late protest will continue to include the situation wherein a
       claimant fails to receive a reasonable and timely notice, order, or decision, as
       set forth in Mich. Admin. Rule § 421.270. The Agency will make good
       cause determinations on a case-by-case basis based upon the information
       submitted.

 16.   In cases where jurisdiction is returned to the Agency for reconsideration and
       redetermination under Mich. Admin. Rule § 421.270 the Agency will
       suspend collection activity of overpayment and/or penalties on that case(s),
       whether by garnishment, bill collection, offset against current eligibility, or
       otherwise, until a (re)determination on the case(s) has become final.




  




                                        Page 5
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17                          PageID.1650   Page 9 of 14
  


                                                                Section II.
      CURRENT CLAIMANTS, GARNISHEES, AND OTHERS FOR WHOM THE
     STATE RETAINS REMUNERATION BASED ON CHALLENGED PRACTICES
 17.           Review of Agency (re)determinations issued from October 1, 2013 to
               August 7, 2015, will be followed by new original (re)determinations by mail
               which shall be subject to the policies, procedures or practices outlined
               above, or “notices of appeal rights” which shall include explanation of the
               basis for upholding the original (re)determination and a copy of the original
               (re)determination. Relative to this review, funds garnished or otherwise
               collected shall be promptly returned within 30 days of a new
               (re)determination.1

 18.           For all claimants with open garnishment or other collection activity, all bills
               and garnishment notices shall provide a statement advising claimants that
               they may have: (1) a right to request reopening if they did not receive notice
               of the (re)determination within the original appeal deadline, and (2) the right
               to an individual hearing on the underlying issue(s).

 19.           If the Agency rejects a request to reopen for good cause on the basis that the
               original (re)determination is more than a year old (MCL 421.32a(2) -- i.e.
               the “one-year letter” – currently UIA form 1077) it shall also include in the
               second paragraph of the main text of the “one year letter” information
               advising that, although the UIA is limited by a one year deadline: “However,
               if you file a protest or appeal of this denial, an Administrative Law Judge
               may reconsider the disputed issue after a year in some circumstances, and
               may grant your request if you did not receive notice of the original
               (re)determination or you establish good cause for late filing.”




                                                             
 1
   The parties understand that, in certain extenuating circumstances, it may be impossible to meet
 this deadline. Examples of extenuating circumstances include those cases where involvement of
 third parties -- such as employer garnishments or taxing authorities regarding interception --
 limits or delays access to the funds, or cases in which return addresses must be verified or
 claimants located. In those cases the Agency shall endeavor to return collected funds as soon as
 practicable.


  




                                                                 Page 6
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17       PageID.1651    Page 10 of 14
   


                                      Section III.
                         GENERAL SETTLEMENT TERMS
  20.   Reporting. (1) For a period extending 24 months from the entry of this
        Settlement Agreement (the “reporting period”), the Agency will provide to
        Plaintiffs’ counsel a quarterly report, one month following the calendar
        quarter end, of the number of new fraud and nonfraud overpayment cases
        established based on new misrepresentation (re)determinations. (2)
        Quarterly, until completion of the review of cases subject to Section II of
        this Agreement, the Agency will provide information regarding the number
        of cases reviewed, the number of affirmations and reversals of fraud, the
        percentage of cases where refunds were issued on fraud penalties previously
        paid and the amounts thereof.

  21.   Jurisdiction: The Federal District Court for the Eastern District of Michigan
        shall retain jurisdiction over this action. The Parties consent to continued
        jurisdiction of this Court over interpretation of the terms, enforcement, and
        compliance with this Settlement Agreement.

  22.   Implementation: Within 90 days of the execution of this Agreement, the
        Defendant shall issue written directives to all applicable personnel within
        the Michigan Unemployment Insurance Agency clarifying its recovery
        procedures for overpayments of unemployment insurance benefits as
        provided in this Agreement. As soon thereafter as is practicable, but in no
        event more than 90 days of the execution of this Agreement, the Defendant
        shall issue revised manual sections for its policy and procedures manual(s)
        consistent with the terms of this Settlement Agreement. The Defendants will
        provide Plaintiffs’ counsel with a courtesy copy of the written directives
        issued pursuant to this Settlement Agreement at the time they are issued and
        an advance copy of the revised manual sections provided for under this
        paragraph no less than 15 days prior to their publication/distribution.

  23.   Notice and opportunity to cure/Liaison. If Plaintiffs believe any Agency
        policy, practices, or actions are not in compliance with this Settlement
        Agreement, Plaintiffs shall give the Agency written notice of such alleged
        breach providing the opportunity to cure such breach for a period of thirty
        (30) business days after delivery of the notice. Within 10 days of notice,
        Defendants shall provide a response (written, by phone, or in person) of the
        actions proposed in response, if any. Any notice of breach shall be made to
        the following:



   




                                        Page 7
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17                      PageID.1652    Page 11 of 14
   


                               Talent Investment Agency/Unemployment Ins. Agency
                               Attn: UIA Deputy Director
                               Cadillac Place
                               3024 West Grand Blvd., Ste. 12-350
                               Detroit, Michigan 48202

                The Agency will provide notice and copies of revised UIA forms2 at least 60
                days (or as soon as practicable) prior to the proposed implementation. Any
                objection to the content of proposed UIA form revisions for compliance with
                this agreement must be raised within 30 days (or as soon as practicable) after
                receipt. Suggested and accepted changes will be made on a prospective
                basis.

                A Liaison for issues related to implementation of this Settlement Agreement
                and compliance shall be appointed within the Agency. The Agency may
                designate substitutions of the liaison by notice pursuant to the terms of this
                Agreement. The liaison is the UIA Deputy Director, and his or her designee,
                at a phone number and email to be provided by Defendants.

  24.           Settlement Incorporated. Parties Agree to the Entry of this Settlement
                Agreement to be incorporated by reference in a Dismissal Order of the
                Litigation as final Resolution of the Litigation. If the Court rejects this
                Agreement in any material part, either party shall have the right to void this
                entire Agreement.

  25.           Release. Except for the rights and obligations contained in this Agreement,
                Plaintiffs, including their officers, directors, managers, employees, agents,
                insurers, parent corporations, subsidiaries, affiliates (but not local chapters
                which the UAW has no authority to bind), predecessors, successors, assigns,
                hereby fully and forever release and discharge Defendants and its
                employees, attorneys, agents, representatives, insurers, predecessors,
                successors, and assign, from any and all manner of action and causes of
                action set forth in the pending litigation.




                                                              
  2
    UIA forms requiring notice pursuant to this provision are limited to claimant
  (re)determinations, restitution notices, questionnaires related to claimant benefits and/or fraud,
  monthly invoices to claimants, and the one-year letter.


   




                                                                 Page 8
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17          PageID.1653     Page 12 of 14
   



  26.   Notice. If notice is required, it shall be made to the following:
              To UIA:

              Talent Investment Agency/Unemployment Ins. Agency
              Attn: UIA Deputy Director
              Cadillac Place
              3024 West Grand Blvd., Ste. 12-350
              Detroit, Michigan 48202

              To Plaintiffs:

              David Blanchard
              Blanchard & Walker PLLC
              221 N. Main St., Suite 300
              Ann Arbor, MI 48105

        The Parties may revise its notice persons at any time by written notice to
        each other.

  27.   Severability. If any term or other provision of the Settlement Agreement
        and Dismissal Order is challenged by a Third Party, (“Third Party” is
        specifically defined to exclude the Parties herein, and any of their officers,
        directors, managers, members, employees, agents, insurers, parent
        corporations, subsidiaries, affiliates, predecessors, successors, and assigns),
        and ultimately held by a court of competent jurisdiction or the U.S.
        Department of Labor to be invalid, illegal, or incapable of being enforced,
        (a) either Party shall have the right to terminate the Agreement and
        recommence suit, notwithstanding any dismissal or initiate one or more new
        causes of action; or (b) upon written consent of all Parties, the full force and
        effect of all other terms and provisions of this Agreement shall be enforced,
        and there shall be substituted for the term or provision at issue a valid, legal,
        and enforceable provision that effects the original intent of the Parties as
        closely as possible. If either Party elects to recommence suit under this
        provision, (i) the Parties agree that any statutes of limitations are tolled from
        the filing date of the litigation to the date 90 days after any court finding that
        the provision of the Settlement Agreement and Dismissal Order is invalid,
        illegal, or incapable of being enforced, and (ii) neither Party will be
        prevented from pursuing any rights, claims or arguments.



   




                                          Page 9
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17         PageID.1654    Page 13 of 14
   


  28.   Construction. Nothing contained in this Agreement shall be construed to
        require the commission of any act contrary to law, and whenever there is any
        conflict between any provision of this Agreement and any statute, law,
        ordinance, regulation, or U.S. Department of Labor direction, guidance, or
        UIPL, contrary to which the parties have no legal right to contract, then the
        latter shall prevail; but in such event, the provisions of this Agreement so
        affected shall be curtailed and limited only to the extent necessary to bring it
        within legal requirements and subject to the procedures of the preceding
        paragraph.

  29.   Each of the Parties to this Agreement, acknowledge and represent that:
           a. Such Party has read this Agreement;
           b. Such Party clearly understands this Agreement and each of its terms;
           c. Such Party fully and unconditionally consents to the terms of this
              Agreement;
           d. Such Party has had the benefit and advice of legal and other counsel
              of such party’s own selection;
           e. Such Party has executed this Agreement fully, with knowledge, and
              without duress;
           f. Such Party is not relying on any other representations, either written
              or oral, express or implied, made by any other person or entity; and
           g. The consideration received by such Party has been actual and
              adequate.

  30.   Authority. The parties and the individuals signing this Agreement represent
        and warrant that the individuals signing this Agreement are duly authorized
        and empowered to act on behalf of and to sign for the Party for whom they
        have signed respectively, and this Agreement has been duly and validly
        executed by them, and that this Agreement constitutes valid and binding
        obligations of the Parties.

  31.   This Agreement does not prevent the Agency from making any necessary
        revisions to its policies and procedures required to ensure compliance with
        state and federal unemployment requirements, including U.S. Department of
        Labor direction, guidance or UIPL. In the event that changes in law require
        modification of this Settlement Agreement, the parties agree to provide
        notice at least 30 days in advance of the implementation of any new policy
        or practice required that would violate the terms of the Stipulated Agreement
        and shall, subject to the procedure for notice and cure, stipulate to



   




                                        Page 10
Case 2:15-cv-11449-RHC-RSW ECF No. 51 filed 02/02/17        PageID.1655    Page 14 of 14
   


        modification of the Settlement Agreement to the degree necessary to bring it
        into compliance.

  32.   This Agreement contains the entire Agreement between the parties. Any
        modification of this Agreement must be made in writing and signed by the
        parties.

  33.   This Agreement may be executed in counterparts by any of the signatories
        hereto, including by facsimile transmission, and as executed shall constitute
        one agreement. Facsimile or electronic copies of signatures shall be treated
        as originals for all purposes.



 /s/ David M. Blanchard                        /s/ Wanda Stokes
 David M. Blanchard (P67190)                   Wanda Stokes
 BLANCHARD & WALKER, PLLC                      Director
 On behalf of all Plaintiffs                   Talent Investment Agency
                                               On behalf of:
 Date: January 31, 2017                        Talent Investment Agency (TIA);
                                               Unemployment Insurance Agency
                                               (UIA); and the Officers sued in
                                               their official capacity.
 /s/ Edward A. Macey
 Edward A. Macey (P72939)                      Date: January 31, 2017
 Associate General Counsel
 International Union, UAW
 On behalf of Plaintiff UAW

 Date: January 31, 2017


 /s/ Anthony D. Paris
 Anthony D. Paris (P71525)
 Lead Attorney
 Sugar Law Center
 On behalf of Plaintiff SLC

 Date: January 31, 2017



   




                                       Page 11
